Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.154 Filed 01/23/17 Page 1 of 29




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JERRY WORD,
                                            Case No. 2:16-cv-11423
                   Plaintiff,               Judge Laurie J. Michelson
v.                                          Magistrate Judge Anthony P. Patti

CITY OF DETROIT, et al.

               Defendants.
__________________________/

      REPORT AND RECOMMENDATION REGARDING THE CITY OF
       DETROIT DEFENDANTS’ DISPOSITIVE MOTIONS (DE 3, DE 8)

I.     RECOMMENDATION: The Court should grant Defendants City of

Detroit, Michael Duggan and Detroit Police Departments’ May 5, 2016 joint

motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) (DE 3) and grant Defendant

Woodward, Newton and King’s May 20, 2016 joint motion to dismiss in lieu of an

answer (DE 8).

II.    REPORT:

       A.    Four of the named Defendants have yet to appear.

       On January 21, 2016, Jerry Word filed this lawsuit in Wayne County Circuit

Court against several defendants, including: the City of Detroit, Michael Duggan,

the Detroit Police Department (DPD), three named officers (Carl Woodward,

(Richard) Newton, Sgt. Errol King), four unidentified officers (described as


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Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.155 Filed 01/23/17 Page 2 of 29




employed at the Detroit Detention Center (DDC)),1 and what appear to be four

resident citizens (Ann Conway (Word), Michelle Bradford, Perry Conway and

Demetrius Conway).2 (DE 1-1 ¶¶ 2-11; see also Case No. 16-000863-CZ.) The

events underlying this lawsuit stem from Plaintiff’s May 9, 2014 arrest in

connection with what can best be described as a domestic dispute involving

alcohol and drugs. (DE 1-1 ¶¶ 14-48, DE 3-3 at 2, DE 8-4 at 2, DE 11 at 3 ¶¶ 14-

15.)

       On April 20, 2016, Defendant City of Detroit filed an answer and removed

the case to this Court. (DE 1-2, DE 1.) On May 24, 2016, although several parties

had already appeared, the Court entered an order which, in part, required Plaintiff

to show cause as to service upon the four apparent resident defendants who had yet

to appear. (DE 9.) Plaintiff responded on June 28, 2016. (DE 11 at 4-5, 9.)3



1
  The DDC “operates under an interagency agreement between the [DPD] and the
Michigan Department of Corrections.” See
http://www.michigan.gov/corrections/0,4551,7-119-68854_1381_1385-354404--
,00.html.
2
 According to the May 9, 2014 DPD Arrest Report, Ann Celeste Word was
Plaintiff’s spouse, and Demetrius Conway is the son of the victim and arrestee.
(See DE 3-3, DE 8-4 (DPD Arrest Report).)
3
  Plaintiff claims that these four defendants have been served and are in default, in
support of which he cites to returns of service and a motion for default judgment
filed in state court, and he requests that this Court consider his request for entry of
default judgment. (See DE 11 ¶¶ 22-28, DE 11 ¶ 29, DE 11 at 9; DE 11 at 14-17
(proofs of service), DE 11 at 20-28 (Default Requests), DE 11 at 30-34 (Motion to
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Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.156 Filed 01/23/17 Page 3 of 29




Should the 42 U.S.C. § 1983 case against the state-actor defendants survive the

instant motions, I will address the issue of these non-state actor defendants’

appearance, as well as the issue of identification of the 4 unidentified officers (see

DE 11 ¶¶ 20-21), under separate cover.

      B.     Six of the Defendants have filed dispositive motions.

      Judge Michelson has referred this case to me for pretrial matters. Currently

pending before the Court are Defendants City of Detroit, Michael Duggan and

DPD’s May 5, 2016 joint motion to dismiss, and Defendants Woodward, Newton

and King’s May 20, 2016 joint motion to dismiss in lieu of an answer. Together,

these motions challenge Plaintiff’s complaint on the bases that: (1) it fails to

comply with Fed. R. Civ. P. 8 and/or Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009); (2) it names an improper party;

(3) it fails to establish the personal involvement of certain defendants; or, (4)

certain defendants are entitled to qualified immunity. (See, i.e., DE 3-1 at 10-13,

DE 8-1 at 7-18.)

      C.     Dispositive Motion Practice

             1.    Fed. R. Civ. P. 12(b)(6)

      Defendants City of Detroit, Duggan and DPD bring their motion pursuant to

Fed. R. Civ. P. 12(b)(6). When deciding a motion to dismiss under Federal Rule of

Enter Default Judgment); see also Word v. City of Detroit, et al., Register of
Actions, Case No. 16-000863-CZ (Wayne County Circuit Court).)
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Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.157 Filed 01/23/17 Page 4 of 29




Civil Procedure 12(b)(6), the Court must “construe the complaint in the light most

favorable to plaintiff and accept all allegations as true.” Keys v. Humana, Inc., 684

F.3d 605, 608 (6th Cir. 2012). “To survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.”    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotation omitted); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(concluding that a plausible claim need not contain “detailed factual allegations,”

but it must contain more than “labels and conclusions” or “a formulaic recitation of

the elements of a cause of action”). Facial plausibility is established “when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678. “The plausibility of an inference depends on a host of considerations,

including common sense and the strength of competing explanations for the

defendant’s conduct.” 16630 Southfield Ltd., P’Ship v. Flagstar Bank, F.S.B., 727

F.3d 502, 503 (6th Cir. 2013).

      Furthermore, the Court holds pro se complaints to “less stringent standards

than formal pleadings drafted by lawyers.” Haines v. Kerner, 404 U.S. 519, 520

(1972). However, even in pleadings drafted by pro se parties, ‘“courts should not

have to guess at the nature of the claim asserted.”’ Frengler v. Gen. Motors, 482

F. App’x 975, 976-77 (6th Cir. 2012) (quoting Wells v. Brown, 891 F.2d 591, 594


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Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.158 Filed 01/23/17 Page 5 of 29




(6th Cir. 1989)). Also, “courts may not rewrite a complaint to include claims that

were never presented . . . nor may courts construct the Plaintiff’s legal arguments

for him. Neither may the Court ‘conjure up unpled allegations[.]’” Rogers v.

Detroit Police Dept., 595 F.Supp.2d 757, 766 (E.D. Mich. 2009) (Ludington, J.,

adopting report and recommendation of Binder, M.J.).4

             2.     Fed. R. Civ. P. 56

      Defendants Woodward, Newton and King bring their motion pursuant to

both Fed. R. Civ. P. 12(b)(6) and Fed. R. Civ. P. 56. Under Federal Rule of Civil

Procedure 56, “[t]he court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law. Fed. R. Civ. P. 56(a). A fact is material if it might

affect the outcome of the case under governing law. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 249 (1986). The Court “views the evidence, all facts, and any

inferences that may be drawn from the facts in the light most favorable to the

nonmoving party.” Pure Tech Sys., Inc. v. Mt. Hawley Ins. Co., 95 F. App’x 132,

135 (6th Cir. 2004) (internal citations omitted).




4
 See also, Evans v. Mercedes Benz Fin. Servs., LLC, No. 11-11450, 2011 WL
2936198, at *2 (E.D. Mich. July 21, 2011) (“Even excusing plaintiff's failure to
follow Rules 8(a)(2) and 10(b), a pro se plaintiff must comply with basic pleading
requirements, including Rule 12(b)(6).”).

                                          5
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.159 Filed 01/23/17 Page 6 of 29




      “The moving party has the initial burden of proving that no genuine issue of

material fact exists . . . .” Stansberry v. Air Wis. Airlines Corp., 651 F.3d 482, 486

(6th Cir. 2011) (internal quotations omitted); cf. Fed. R. Civ. P. 56 (e)(2)

(providing that if a party “fails to properly address another party’s assertion of

fact,” then the court may “consider the fact undisputed for the purposes of the

motion.”). “Once the moving party satisfies its burden, ‘the burden shifts to the

nonmoving party to set forth specific facts showing a triable issue.’” Wrench LLC

v. Taco Bell Corp., 256 F.3d 446, 453 (6th Cir. 2001) (quoting Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). The nonmoving

party must “make an affirmative showing with proper evidence in order to defeat

the motion.” Alexander v. CareSource, 576 F.3d 551, 558 (6th Cir. 2009); see also

Metro. Gov’t of Nashville & Davidson Cnty., 432 F. App’x 435, 441 (6th Cir.

2011) (“The nonmovant must, however, do more than simply show that there is

some metaphysical doubt as to the material facts . . . . [T]here must be evidence

upon which a reasonable jury could return a verdict in favor of the non-moving

party to create a genuine dispute.”) (internal quotation marks and citations

omitted).

      Summary judgment is appropriate if the evidence favoring the nonmoving

party is merely colorable or is not significantly probative. City Management Corp.

v. United States Chem. Co., 43 F.3d 244, 254 (6th Cir. 1994). In other words,


                                          6
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.160 Filed 01/23/17 Page 7 of 29




summary judgment is appropriate when “a motion for summary judgment is

properly made and supported and the nonmoving party fails to respond with a

showing sufficient to establish an essential element of its case. . . .” Stansberry,

651 F.3d at 486 (citing Celotex Corp. v. Catrett, 477 U.S. 371, 322-23 (1986)).

      D.     Discussion

             1.     The alleged facts underlying Plaintiff’s complaint

      The facts underlying Plaintiff’s complaint begin on or about May 9, 2014 at

his home, where two police officers allegedly placed him under arrest, apparently

after his brother-in-law accused Plaintiff of domestic violence. (DE 1-1 at 5 ¶¶ 17-

23.) According to Plaintiff, he was taken to DDC and charged with assault and

battery/simple assault. (DE 1-1 ¶¶ 25-26.)

      While in a cell at DDC, Plaintiff became ill. He knocked and kicked on the

door, four unidentified officers appeared, and these officers opened the door and

shot Plaintiff twice with a Taser, after which Plaintiff fell to the floor. (DE 1-1 ¶¶

27-30.)5 Plaintiff claims that two of the unidentified officers dragged him to

another cell, where he was placed in a restraint chair with his body, arms, legs and

waist strapped and where “his back was bent inward like a bow.” According to

Plaintiff, he remained in that position for approximately three days, during which

5
  In his June 28, 2016 filing, Plaintiff claims he does not know the identity of these
officers and explains that he will “undoubtedly learn the identities of these
individuals and properly bring them into the action through Discovery.” (DE 11 ¶
20; see also DE 11 ¶ 21.)
                                          7
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.161 Filed 01/23/17 Page 8 of 29




he “was not allowed to eat, use the bathroom or drink water.” Thereafter, Plaintiff

was removed from the restraint chair, placed in another cell for a few hours, and,

then, released from custody; he was told “to go home without any means of

transportation or cash in his pocket to get there.” (DE 1-1 ¶¶ 31-35; see also DE 1-

1 ¶ 36.)

      Plaintiff contends that, when he arrived home and asked his wife, Ann

Conway Word, “what was that episode all about[,]” she responded, “I think I made

a mistake[,]” and “I fell coming out of the bathroom.” (DE 1-1 ¶ 37.) Citing the

DPD Arrest Report, Plaintiff claims the story given to the DPD “was quite

different.” (DE 1-1 ¶ 38; see also DE 1-1 ¶¶ 39-47, DE 3-3, DE 8-4.) According

to Plaintiff, he was “never formally charged with the offenses he was arrested for

in this case.” (DE 1-1 ¶ 48.)

             2.    Plaintiff’s federal causes of action as to the state actor
                   defendants

      As the first page of Plaintiff’s complaint indicates, he brings this action, at

least in part, pursuant to 42 U.S.C. § 1983 (“Civil action for deprivation of rights”)

and 42 U.S.C. § 1985 (“Conspiracy to interfere with civil rights”). (DE 1-1 at 3.)

By way of background, “[t]he purpose of § 1983 is to deter state actors from using

the badge of their authority to deprive individuals of their federally guaranteed

rights and to provide relief to victims if such deterrence fails.” Wyatt v. Cole, 504



                                          8
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.162 Filed 01/23/17 Page 9 of 29




U.S. 158, 161 (1992) (citing Carey v. Piphus, 435 U.S. 247, 254–257 (1978))

(emphasis added).

      “Anyone whose conduct is ‘fairly attributable to the state’ can be sued as a

state actor under § 1983.” Filarsky v. Delia, 132 S. Ct. 1657, 1661 (2012). Given

that the motions currently under the Court’s consideration have been filed by the

City of Detroit, Mayor Duggan, the DPD and three DPD Police Officers, it is

helpful to note:

      “To prevail on a § 1983 claim, a plaintiff must establish that a person
      acting under color of state law deprived the plaintiff of a right secured
      by the Constitution or laws of the United States.” Waters v. City of
      Morristown, 242 F.3d 353, 358–59 (6th Cir.2001) (citation omitted).
      Accordingly, a determination as to whether the defendant acted under
      the color of state law is a threshold matter. Id. at 359. In Lugar v.
      Edmondson Oil Co., the Supreme Court held that “the deprivation
      must be caused by the exercise of some right or privilege created by
      the State or by a rule of conduct imposed by the state or by a person
      for whom the State is responsible.” 457 U.S. 922, 937[] (1982).
      Moreover, “the party charged with a deprivation must be a person
      who may fairly be said to be a state actor.” Id. In other words, “a
      private entity can be held to constitutional standards when its actions
      so approximate state action that they may be fairly attributed to the
      state.” Lansing v. City of Memphis, 202 F.3d 821, 828 (6th Cir.2000).

Wilkerson v. Warner, 545 F. App'x 413, 419 (6th Cir. 2013).            Since the six

defendants currently before this Court do not argue that they are not state actors,

the Court will proceed on the assumption that they are.6


6
 See also Flagg v. City of Detroit, 827 F. Supp. 2d 765, 792 (E.D. Mich. 2011),
aff'd, 715 F.3d 165 (6th Cir. 2013) (“The parties here agree that the Defendant City
of Detroit and its former mayor . . . both qualify as state actors under the second
                                         9
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.163 Filed 01/23/17 Page 10 of 29




      Although the “causes of action” section of Plaintiff’s complaint mentions the

constitutions of both the State of Michigan and the United States of America, the

Court reads this pro se complaint as required by Haines v. Kerner, 404 U.S. 519,

520 (1972) and interprets these paragraphs as alleging the following federal claims

as to the state actor defendants: false imprisonment; conspiracy; failure to act;7

failure to properly train; excessive force; and inhumane conditions of confinement.

(DE 1-1 at 9-10 ¶ 49-55; see also DE 11 ¶ 36.) This interpretation is supported by

Plaintiff’s explanation in response that there were violations of his constitutional

rights not to be “falsely imprisoned[,]” or “abused and tortured at the hands of the

Defendants under color of state law[,]” and that he advised Defendants that “he did

not commit the offense which was alleged against him . . .[,]” but they

“disregarded this fact.” (DE 11 ¶¶ 32, 34.)8



prong of this [42 U.S.C. § 1983] standard.”); Myers v. Hensley, No. 3:07 CV 1529,
2010 WL 3522492, at *4 (N.D. Ohio Aug. 2, 2010), report and recommendation
adopted, No. 3:07 CV 1529, 2010 WL 3522490 (N.D. Ohio Sept. 8, 2010) (“In this
case, Defendants Hensley and Rowe may be said to have fairly exercised power
made possible by their status and authority of state law. The Magistrate finds that
the mayor and chief of police are state actors who acted under color of state law.”).
7
  “The failure to provide medical assistance is not actionable under § 1983 for the
same reason that the failure to intervene in the fight is not: in neither case did the
state actor cause the injury of which plaintiff complains.” Tucker v. Callahan, 867
F.2d 909, 914 (6th Cir. 1989).
8
 Plaintiff’s complaint also sets forth various claims for damages, which omit
specific mention of Defendants Duggan, Newton and King. (See DE 1-1 ¶¶ 56-
63.)
                                          10
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.164 Filed 01/23/17 Page 11 of 29




             3.    Defendants Woodward, Newton and King (DE 8)

                   a.     Errol King

      The complaint describes Defendant King as “a supervising officer employed

with the [DPD] in the 8th Precinct.” (DE 1-1 ¶ 6.) Within the causes of action,

Plaintiff contends that he was falsely accused by several defendants, including

King, which then caused Plaintiff to be falsely imprisoned at the DDC for

approximately three days. (DE 1-1 ¶ 49.) Defendants urge the Court to dismiss

Plaintiff’s claims against Defendant King on the basis that he “was not personally

involved in the alleged constitutional deprivations[.]” (DE 8-1 at 7-8.)

      “[T]o state a cognizable Section 1983 claim, the plaintiff must allege some

personal involvement by the each of the named defendants.” Bennett v. Schroeder,

99 F. App'x 707, 712–713 (6th Cir. 2004) (summary judgment). “‘At a minimum,

a § 1983 plaintiff must show that a supervisory official at least implicitly

authorized, approved or knowingly acquiesced in the unconstitutional conduct of

the offending subordinate.’” Grinter v. Knight, 532 F.3d 567, 575 (6th Cir. 2008)

(quoting Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir.1984)).

      Plaintiff argues that the complaint against Defendant King should not be

dismissed in its entirety, because he “is a coconspirator in this complaint and was

the Supervising Officer in charge who authorized the arrest and approved the




                                         11
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.165 Filed 01/23/17 Page 12 of 29




Police Arrest Report.” (DE 11 ¶¶ 11-12.) In that regard, Plaintiff’s complaint

alleges:

      That [Defendant King and others], did conspire and confederate
      together with each other, to deny the Plaintiff his constitutional right
      to liberty; by falsely imprisoning him for alleged violations for which
      he did not commit, to wit; (false imprisonment), the same caused the
      Plaintiff to be imprisoned in violation of Title 42 [U.S.C.] § 1985 of
      the United States Code.

(DE 1-1 at 9 ¶ 50.)

      Here, the Court should conclude that Plaintiff’s claim(s) against Defendant

King do not survive his combined Rule 12(b)(6) and Rule 56 motion. (DE 8.)

First, Plaintiff has not alleged a conspiracy claim against Defendant King. “‘It is

well-settled that conspiracy claims must be pled with some degree of specificity

and that vague and conclusory allegations unsupported by material facts will not be

sufficient to state such a claim under § 1983’ or Bivens.” Robertson v. Lucas, 753

F.3d 606, 622 (6th Cir. 2014) (quoting Gutierrez v. Lynch, 826 F.2d 1534, 1538

(6th Cir.1987)). Also, “[a] § 1985(3) complaint must ‘allege both a conspiracy and

some class-based discriminatory animus behind the conspirators' action.’” Ctr. for

Bio-Ethical Reform, Inc. v. City of Springboro, 477 F.3d 807, 832 (6th Cir. 2007)

(quoting Newell v. Brown, 981 F.2d 880, 886 (6th Cir.1992)). To the extent

Plaintiff intends to bring a false accusation or conspiracy claim against Defendant

King, paragraph 49 of Plaintiff’s complaint is vague in describing the alleged

“accusation” by King, is conclusory, and does not allege a “class-based
                                        12
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.166 Filed 01/23/17 Page 13 of 29




discriminatory animus.” This cause is not aided by paragraph 50’s broad assertion

that Defendants “falsely imprison[ed] him for alleged violations . . . which he did

not commit,” nor is it aided by paragraph 51’s allegation of “fraudulent and

unfounded charges which denied Plaintiff his liberty.” It is likewise not aided by

paragraph 55’s general assertion that “all Defendants named in this action, through

their action or inactions, did in fact violate[] the Plaintiff’s Constitutional Rights by

falsely imprisoning and tor[tur]ing him . . . .” These paragraphs do not sufficiently

allege a false accusation or conspiracy claim against King as to which relief may

be granted.

      Second, Plaintiff has not alleged Defendant King’s personal involvement in

the matters of which Plaintiff complains. In addition to the foregoing vague and/or

conclusory paragraphs about false accusations and false imprisonment, Plaintiff

alleges that “the above named Defendants did in fact cause upon the Plaintiff[]

severe physic[al], emotional and mental duress by their actions or failure to act,

which caused the Plaintiff pain and suffering through fraudulent and unfounded

charges which denied Plaintiff his liberty.” (DE 1-1 at ¶ 51.) Nevertheless,

Plaintiff alleges that Defendant King is a “supervising officer,” and, as discussed

above, the references to King in the “causes of action” are vague and/or

conclusory. (DE 1-1 ¶¶ 6, 49; see also DE 1-1 ¶¶ 50-51, 55.) As such, Plaintiff

“has not alleged that [King] committed any actual acts, nor has [Plaintiff] averred


                                           13
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.167 Filed 01/23/17 Page 14 of 29




that [King] acquiesced in the conduct of [his] employees.” Grinter, 532 F.3d at

575.

       To be sure, Plaintiff states in his responding brief that King “authorized the

arrest and approved the Police Arrest Report[,]” citing the arrest report itself. (DE

11 ¶ 12.) However, a conclusion that Plaintiff’s complaint does not sufficiently

allege King’s personal involvement is buttressed by the DPD Daily Detail for May

9, 2017 attached to Defendants’ motion. While it does show that Police Officer

Woodward and Police Officer Newton were assigned to “strike force[,]” it does not

show that King was on assignment that day. (DE 8-2, DE 8-5.) Instead, Errol

King only appears to be the officer who, early in the morning of May 10, 2014,

verified and approved the May 9, 2014 DPD Arrest Report, a clerical function at

best. (DE 3-3, DE 8-4 at 2.)9 Thus, on the basis of the pleadings, the Court should

conclude that Plaintiff has not sufficiently alleged Defendant King’s personal

involvement in the matters of which Plaintiff complains.




9
  The Court is permitted to treat the arrest report as part of the pleadings, because it
is attached to Defendants’ motions to dismiss (DE 3-3, DE 8-4), is specifically and
at length referred to in Plaintiff’s complaint (see DE 1-1, ¶¶ 38-47), and it is central
to Plaintiff’s claims. See Eastman v. Cincinnati Musicians Ass'n, Local No. 1, 151
F. App'x 414, 416 (6th Cir. 2005), Jackson v. City of Columbus, 194 F.3d 737, 745
(6th Cir. 1999), abrogated on other grounds by Swierkiewicz v. Sorema N. A., 534
U.S. 506, 510 n.2 (2002).
                                          14
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.168 Filed 01/23/17 Page 15 of 29




      In sum, Defendant King is entitled to dismissal of the claims against him,

because Plaintiff has not sufficiently alleged a false accusation or conspiracy claim

against King, nor has Plaintiff sufficiently alleged King’s personal involvement.

                   b.     Carl Woodward and Richard Newton

      Carl Woodward was the reporting officer, and Richard Newton was the

assisting officer. (DE 3-3, DE 8-4 at 2.) In his complaint, Plaintiff describes

Defendants Woodward and Newton as police officers employed by the City of

Detroit and DPD, respectively. (See DE 1-1 ¶¶ 4-5.) Given the allegations in

Plaintiff’s complaint, the Court assumes Defendants Woodward and Newton are

the police officers who exited their cars, handcuffed Plaintiff, put him in the squad

car, placed him under arrest for assault and battery/simple assault and apparently

transported him to DDC. (DE 1-1 ¶¶ 23, 25-26.) Plaintiff claims that Woodward,

Newton and others falsely accused Plaintiff, which resulted in him being falsely

imprisoned at the DDC for approximately three days. (DE 1-1 ¶ 49.) Moreover,

while the “damages,” section does not make a specific claim as to Defendant

Newton, it does assert that Defendant Woodward “is liable to the Plaintiff for false

arrest and false imprisonment.” (DE 1-1 ¶ 58.)

      Defendants contend that Woodward and Newton are entitled to qualified

immunity as to Plaintiff’s failure to investigate, false arrest/false imprisonment,

and intentional infliction of emotional distress claims, on the basis that their


                                         15
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.169 Filed 01/23/17 Page 16 of 29




actions were “objectively reasonable.” (DE 8-1 at 8-17.) As to these defendants,

Plaintiff responds:

      14.    Officer Carl Woodward was an initiator and made the unlawful
             arrest; transported the Plaintiff to the Detroit Detention Facility
             where the Plaintiff was assaulted by the four unidentified
             officers once detained there; Plaintiff duly advised Officer
             Woodward that he did not commit the offense that his wife was
             charging, but [Woodward] arrested the Plaintiff anyway.

      15.    Officer Woodward was aware that Ms. Conway (Word) was
             under the influence of alcohol and drugs obtained from her
             sister, and was probably not in sound mind at the time;
             however, he failed to investigate to see if what w[a]s being
             claimed was true. Plaintiff states it was not.
      ...

      17.    Officer Newton[,] just as Officer Woodward[,] made the arrest
             and was armed with the same information; both share the same
             responsibility because they committed the exact same acts.
             Both are liable to the Plaintiff under the [c]onspiracy theory and
             the actual violations of Title 28 U.S.C. §§ 1983 and 1985.

(DE 11 ¶¶ 14-15, 17 (emphases added).) Plaintiff further responds:

      43.    Defendants fail[ed] to properly investigate in this matter; had
             the[y] done so, it would have been revealed that it never
             happen[ed].

      44.    There was clearly false arrest/false imprisonment; Plaintiff
             never committed any of the acts alleged in this case.

      45.    Through evidentiary hearing, Plaintiff can undoubtedly prove
             that he was in bed [a]sleep when all the events occurred on May
             09, 2014 for which he was arrested[].

      46.    Defendants did inflict intentional emotional distress upon the
             Plaintiff through their acts and omissions; if it was not
             intentional, was it accidental?
                                          16
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.170 Filed 01/23/17 Page 17 of 29




(DE 11 ¶¶ 43-46.)

      Leaving aside the issue of qualified immunity, the Court should conclude

that Plaintiff has not stated a claim upon which relief may be granted. Fed. R. Civ.

P. 12(b)(6). Initially, as noted earlier with regard to Defendant King, to the extent

Plaintiff intends to bring a false accusation or conspiracy claim against Defendants

Woodward and Newton, paragraph 49 of Plaintiff’s complaint is vague in

describing the alleged “accusation” by Woodward and Newton, is conclusory, and

does not allege a “class-based discriminatory animus.” This cause is not aided by

paragraph 50’s assertion that Defendants “falsely imprison[ed] him for alleged

violations . . . which he did not commit,” nor is it aided by paragraph 51’s

allegation of “fraudulent and unfounded charges which denied Plaintiff his

liberty.” It is likewise not aided by paragraph 55’s general assertion that “all

Defendants named in this action, through their action or inactions, did in fact

violate[] the Plaintiff’s Constitutional Rights by falsely imprisoning and tor[tur]ing

him . . . .” These paragraphs do not sufficiently allege a false accusation or

conspiracy claim against King as to which relief may be granted.

      As to Plaintiff’s claims that he was falsely imprisoned, the Court begins with

the Supreme Court’s direction that “[t]he Constitution does not guarantee that only

the guilty will be arrested. If it did, § 1983 would provide a cause of action for

every defendant acquitted—indeed, for every suspect released.”              Baker v.
                                         17
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.171 Filed 01/23/17 Page 18 of 29




McCollan, 443 U.S. 137, 145 (1979). “To establish a claim for false arrest, false

imprisonment, or malicious prosecution, Plaintiff must show the absence of

probable cause.” Hardesty v. City of Ecorse, 623 F. Supp. 2d 855, 862 (E.D. Mich.

2009) (citing state court cases). “In determining whether probable cause existed,

this Court ‘consider[s] whether there are facts that, given the factual and practical

considerations of everyday life, could lead a reasonable person to believe that an

illegal act has occurred or is about to occur.’” United States v. Gill, 685 F.3d 606,

609 (6th Cir. 2012) (quoting United States v. Strickland, 144 F.3d 412, 416 (6th

Cir.1998)). In other words, “probable cause” to justify an arrest means “facts and

circumstances within the officer's knowledge that are sufficient to warrant a

prudent person, or one of reasonable caution, in believing, in the circumstances

shown, that the suspect has committed, is committing, or is about to commit an

offense.” Michigan v. DeFillippo, 443 U.S. 31, 37, 99 S. Ct. 2627, 2632, 61 L. Ed.

2d 343 (1979); see also Safford Unified Sch. Dist. No. 1 v. Redding, 557 U.S. 364,

370 (2009).

      Here, the Court should dismiss Plaintiff’s claims of false arrest / false

imprisonment against Defendants Woodward and Newton. To begin, although he

responds that “[t]here was not probable cause to arrest [him] in this case[,]” “if so,

it would have been for sleeping in his bed at his home[,]” “Defendant[’s] [or

Defendants’] actions were not legal, reasonable or proper[,]” and “Plaintiff never


                                         18
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.172 Filed 01/23/17 Page 19 of 29




committed any of the acts accused of[,]” (DE 11 ¶¶ 56-57), Plaintiff does not

mention probable cause in his complaint (DE 1-1 at 3-12).

      Furthermore, to the extent Plaintiff’s complaint intended to allege that

Defendants Woodward and Newton improperly investigated before arresting him

(see, i.e., DE 1-1 ¶ 52), such claim is unavailing. To be sure, Plaintiff makes

seeming allegations of innocence within his complaint – such as the arrest report’s

documentation that “[t]he arrestee denied ever assaulting the victim or even

possessing a weapon . . .[,]” or that Plaintiff told the arresting officer, “I didn’t

touch that women[,]” (DE 1-1 ¶¶ 42, 45, DE 3-3 at 2-3, DE 8-4 at 2-3) – and

within his response – such as his allegation that “Plaintiff duly advised Officer

Woodward that he did not commit the offense that his wife was charging, but

[Woodward] arrested the Plaintiff anyway[,]” (DE 11 ¶ 14; see also DE 11 ¶ 34).

Nonetheless, to the extent Plaintiff claims Defendants Woodward and Newton

were required to investigate his assertions of innocence, the Sixth Circuit has

provided the following guidance:

      A suspect's satisfactory explanation of suspicious behavior is certainly
      a factor which law enforcement officers are entitled to take into
      consideration in making the determination whether probable cause to
      arrest exists. See 2 Search & Seizure § 3.6(a), at 32. A policeman,
      however, is under no obligation to give any credence to a suspect's
      story nor should a plausible explanation in any sense require the
      officer to forego arrest pending further investigation if the facts as
      initially discovered provide probable cause. But see Filer v. Smith, 96
      Mich. 347, 355, 55 N.W. 999, 1002 (1893) (“[a]n officer is not
      warranted in relying upon circumstances deemed by him suspicious,
                                         19
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.173 Filed 01/23/17 Page 20 of 29




      when the means are at hand of either verifying or dissipating those
      suspicions without risk”). . . . To hold otherwise would be to allow
      every suspect, guilty or innocent, to avoid arrest simply by claiming
      ‘it wasn't me.’ And if the arresting officer failed to investigate such
      claims prior to arrest, the arrestee could bring a section 1983 suit.

Criss v. City of Kent, 867 F.2d 259, 263 (6th Cir. 1988).10

      The DPD arrest report narrative, most of which is quoted in Plaintiff’s

complaint, indicates that Defendants Woodward and Newton were not required “to

forego arrest pending further investigation . . . .” Criss, 867 F.2d at 263. “A law

enforcement officer is entitled to rely on an eyewitness identification to establish

adequate probable cause with which to sustain an arrest.” Ahlers v. Schebil, 188

F.3d 365, 370 (6th Cir. 1999) (case citations omitted).             “An eyewitness

identification will constitute sufficient probable cause unless, at the time of the

arrest, there is an apparent reason for the officer to believe that the eyewitness was

lying, did not accurately describe what he had seen, or was in some fashion

mistaken regarding his recollection of the confrontation.” Id. (quotations and

citations omitted).

10
   As the Supreme Court observed in, Baker v. McCollan, 443 U.S. 137, 145–46
(1979), albeit in the context of an arrest warrant, “Given the requirements that
arrest be made only on probable cause and that one detained be accorded a speedy
trial, we do not think a sheriff executing an arrest warrant is required by the
Constitution to investigate independently every claim of innocence, whether the
claim is based on mistaken identity or a defense such as lack of requisite intent.
Nor is the official charged with maintaining custody of the accused named in the
warrant required by the Constitution to perform an error-free investigation of such
a claim. The ultimate determination of such claims of innocence is placed in the
hands of the judge and the jury.”
                                         20
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.174 Filed 01/23/17 Page 21 of 29




      Although Plaintiff admits the arrest report differs at least in part from his

version of the events underlying the complaint (DE 1-1 ¶ 38), the arrest report

narrative documents the officer’s or officers’ interviews with Plaintiff (arrestee), as

well as with the victim (Ann Celeste Word), and witness No. 1 (their son,

Demetrius Conway). (DE 1-1 ¶¶ 42-44, DE 3-3 at 2-3, DE 8-4 at 2-3.) Among

other things, the report reflects the officer’s or officers’ impression(s) that the

arrestee and victim “appeared intoxicated.” (See also DE 1-1 at 7 ¶¶ 42, 43.) In

addition, the report notes that Plaintiff had a “possible cigarette burn on [the]

bottom right side of [his] neck,” and the victim had a swollen left eye, a scratched

and bleeding left big toe, and dried blood on the instep of her right foot. (See also

DE 1-1 at 8 ¶ 46.) Moreover, the police were drawn to the house on the report that

a “woman says [her] husband [is] armed with a gun [and] threatening her[,]” and

the victim allegedly told the police that Plaintiff “was waiving that gun around in

our bedroom, and he hit me in the face.” (See also DE 1-1 ¶¶ 40, 43).

      Furthermore, the facts pleaded in the body of the complaint itself show

probable cause, namely: that Plaintiff’s wife “appeared to have been beat up or in

some type of fight” and was “lying on the gro[und] in front of the house[,]”

Plaintiff saw his sister-in-law and brother-in-law coming down the block, as two

police cars were coming “from opposite ends of the block[,]” and Plaintiff’s

brother-in-law was yelling at him to “stop beating on my sister.” (DE 1-1 at 5 ¶¶


                                          21
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.175 Filed 01/23/17 Page 22 of 29




17-22.) It was “[a]t this point [that] two police officers exited the cars and hand

cuffed the Plaintiff and put him in the squad car, placing him under arrest.” (Id. at ¶

23) (emphasis added). Thus, the scene which confronted the officers upon their

arrival, as described in the complaint itself and taken as true, clearly demonstrates

that “the facts as initially discovered provide[d] probable cause.” Criss, 867 F.2d

at 263. (See also DE 1-1 ¶¶ 40-47, DE 3-3, DE 8-4 at 2-3.)

             4.     Defendants City of Detroit, Duggan and DPD (DE 3)

                    a.    Defendant DPD is entitled to dismissal.

      Plaintiff describes the DPD as “an entity within the Governmental structure

of the City of Detroit[,] Michigan . . . .” (DE 1-1 ¶ 2.) He claims that the DPD is

liable to him “for the abuse, physical and emotional distress caused by its

employees under the color of law against the Plaintiff.”            (DE 1-1 ¶ 57.)

Tangentially, Plaintiff requests damages for being “falsely imprisoned, falsely

arrested and tortured at the hands of the [DPD].” (DE 1-1 ¶ 60.)

      “A municipal police department is not a legal entity separate from its parent

city.” Damron v. Pfannes, 785 F. Supp. 644, 646 (E.D. Mich. 1992). Plaintiff

seems to acknowledge this, as his complaint states that the DPD “is an entity

within the Governmental structure of the City of Detroit[,] Michigan[.]” (DE 1-1 ¶

2.) Instead, the City of Detroit is the proper party to address Plaintiff’s claims

against the DPD. See Matthews v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994)


                                          22
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.176 Filed 01/23/17 Page 23 of 29




(“Since the Police Department is not an entity which may be sued, Jefferson

County is the proper party to address the allegations of Matthews's complaint.”).

As such, Defendant DPD is entitled to dismissal from this lawsuit on the basis that

it is an improperly named party. See also McClendon v. City of Detroit, et al.,

Case No. 2:04-cv-71829-GCS-RSW (E.D. Mich. Aug. 5, 2004) (opinion and order

granting DPD’s motion to dismiss).

                    b.     The City of Detroit is entitled to dismissal.

      Plaintiff claims that Defendant City of Detroit failed to properly train its

employees “in investigation techniques to avoid arresting and torturing innocent

citizens[,]” and “in the arts and methods of Constitutional Police practices.” (DE

1-1 ¶¶ 52, 56.) (See also DE 1-1 ¶ 57.) Defendants argue that Defendant City of

Detroit should be dismissed for Plaintiff’s failure to satisfy the requirements of

Fed. R. Civ. P. 8, Twombly and Iqbal. (DE 3-1 at 10-12.) Specifically, Defendants

allege that the complaint “does not identify a single allegation of wrongdoing, or

an averment of fact, relevant to the City of Detroit . . . [.]” (DE 3-1 at 12.)

      Plaintiff’s complaint does not allege a “failure to train” claim against

Defendant City of Detroit that withstands Fed. R. Civ. P. 12(b)(6).       Preliminarily,

“a municipality cannot be held liable solely because it employs a tortfeasor—or, in

other words, a municipality cannot be held liable under § 1983 on a respondeat

superior theory.” Monell v. Dep't of Soc. Servs. of City of N.Y., 436 U.S. 658, 691


                                           23
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.177 Filed 01/23/17 Page 24 of 29




(1978). “Respondeat superior or vicarious liability will not attach under § 1983.”

City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989) (citing Monell, 436 U.S.

at 694-695). Thus, Plaintiff’s claim that Defendant City of Detroit is liable “for the

abuse, physical and emotional distress caused by its employees under the color of

law . . .[,]” (DE 1-1 ¶ 57 (emphasis added)), is not, by itself, enough to allege

liability against Defendant City of Detroit.

      In addition, while Plaintiff alleges that Defendant City of Detroit “failed to

properly train its employees,” which violated the law and caused him injury (see

DE 1-1 ¶¶ 52, 56), Plaintiff has not alleged a “policy or custom” that caused the

alleged “constitutional deprivation.” As the Supreme Court has explained, the

“first inquiry in any case alleging municipal liability under § 1983 is the question

whether there is a direct causal link between a municipal policy or custom and the

alleged constitutional deprivation.” Canton, 489 U.S. at 385. “[T]he inadequacy

of police training may serve as the basis for § 1983 liability only where the failure

to train amounts to deliberate indifference to the rights of persons with whom the

police come into contact.” Id. at 388. “Only where a municipality's failure to train

its employees in a relevant respect evidences a ‘deliberate indifference’ to the

rights of its inhabitants can such a shortcoming be properly thought of as a city

‘policy or custom’ that is actionable under § 1983.” Id. at 389. In other words,

“[o]nly where a failure to train reflects a ‘deliberate’ or ‘conscious’ choice by a


                                          24
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.178 Filed 01/23/17 Page 25 of 29




municipality—a ‘policy’ as defined by our prior cases—can a city be liable for

such a failure under § 1983.” Id.

      As noted above, Plaintiff’s claim against the City of Detroit is that it failed

to properly train its employees, presumably the Defendant police officers. (DE 1-1

¶¶ 52, 56.) “Monell’s rule that a city is not liable under § 1983 unless a municipal

policy causes a constitutional deprivation will not be satisfied by merely alleging

that the existing training program for a class of employees, such as police officers,

represents a policy for which the city is responsible.” Canton, 489 U.S. at 389.

Moreover:

      [t]he issue in a case like this one, however, is whether that training
      program is adequate; and if it is not, the question becomes whether
      such inadequate training can justifiably be said to represent “city
      policy.” It may seem contrary to common sense to assert that a
      municipality will actually have a policy of not taking reasonable steps
      to train its employees. But it may happen that in light of the duties
      assigned to specific officers or employees the need for more or
      different training is so obvious, and the inadequacy so likely to result
      in the violation of constitutional rights, that the policymakers of the
      city can reasonably be said to have been deliberately indifferent to the
      need. In that event, the failure to provide proper training may fairly
      be said to represent a policy for which the city is responsible, and for
      which the city may be held liable if it actually causes injury.

Canton, 489 U.S. at 390 (footnotes omitted) (emphasis added). The focus “must

be on adequacy of the training program in relation to the tasks the particular

officers must perform[,]” and “for liability to attach in this circumstance the




                                         25
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.179 Filed 01/23/17 Page 26 of 29




identified deficiency in a city's training program must be closely related to the

ultimate injury.” Id. at 390-391.

      Here, Plaintiff does not mention a “custom” or “policy” and only mentions

that Defendant City of Detroit failed to properly train its employees “in

investigation techniques to avoid arresting and torturing innocent citizens[,]” and

“in the arts and methods of Constitutional Police practices.” (DE 1-1 ¶¶ 52, 56.)

These statements are akin to a claim that “an injury or accident could have been

avoided if an officer had had better or more training, sufficient to equip him to

avoid the particular injury-causing conduct[,]” which the Supreme Court has stated

will not suffice. Canton, 489 U.S. at 391. As Defendants correctly point out,

Plaintiff has not identified “policies, practices, and/or customs” created by

Defendant City of Detroit that “may have a causal connection to Plaintiff’s alleged

injuries[,]” nor has Plaintiff made any allegations that “there was a need for

training so obvious, and a training inadequacy so likely to cause a constitutional

violation, that an inference of deliberate indifference may be reached[.]” (DE 3-1

at 10-11 ¶¶ 3, 6.)11



11
  I note that Plaintiff’s “seventh cause of action,” is brought against “all
Defendants named in thi action . . . .” (DE 1-1 ¶ 55.) However, consistent with the
foregoing analysis as to Defendants King, Woodward and Newton, the general
assertion that “all Defendants named in this action, through their action or
inactions, did in fact violate[] the Plaintiff’s Constitutional Rights by falsely
imprisoning and tor[tur]ing him . . .[,]” does not, alone, sufficiently allege a false
                                          26
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.180 Filed 01/23/17 Page 27 of 29




                   c.     Defendant Duggan is entitled to dismissal.

      Plaintiff pleads that Michael Duggan is “the Chief Executive Officer for the

City of Detroit[,] Michigan and Respondeat Superior over the [DPD].” (DE 1-1 ¶

3.) In fact, Mike Duggan is currently the Mayor of the City of Detroit. (See

http://www.detroitmi.gov.)

      The above description is the only place in the complaint in which Mayor

Duggan is expressly mentioned, thus solidifying the conclusion that Plaintiff’s only

intent is to name Mayor Duggan on the basis of respondeat superior. As noted

above, “Section 1983 will not support a claim based on a respondeat superior

theory of liability.” Polk Cty. v. Dodson, 454 U.S. 312, 325 (1981) (citing Monell,

436 U.S. at 694). “Because § 1983 liability cannot be imposed under a theory of

respondeat superior, proof of personal involvement is required for a supervisor to

incur personal liability.” Miller v. Calhoun Cty., 408 F.3d 803, 817 (6th Cir. 2005)

(citing Taylor v. Mich. Dep't of Corr., 69 F.3d 76, 80–81 (6th Cir.1995)).

Although the complaint in some cases makes use of “defendants” plural (see DE 1-

1 ¶¶ 50, 51, 55), the complaint does not allege that the Mayor of the City of Detroit

was personally involved in the events underlying the complaint, and Mayor

Duggan is entitled to dismissal of the claims against him.

      E.     Conclusion

imprisonment, excessive force or conspiracy claim against the City of Detroit as to
which relief may be granted.
                                         27
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.181 Filed 01/23/17 Page 28 of 29




       For the reasons stated above, the Court should grant Defendants City of

Detroit, Michael Duggan and Detroit Police Departments’ May 5, 2016 joint

motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) (DE 3) and dismiss

Plaintiff’s claims against these defendants. (Section II.D.4.) In addition, the Court

should grant Defendants Woodward, Newton and King’s May 20, 2016 joint

motion to dismiss in lieu of an answer (DE 8) and dismiss Plaintiff’s claims against

these defendants. (Section II.D.3.)12

III.   PROCEDURE ON OBJECTIONS

       The parties to this action may object to and seek review of this Report and

Recommendation, but are required to file any objections within 14 days of service,

as provided for in Fed. R. Civ. P. 72(b)(2) and E.D. Mich. LR 72.1(d). Failure to

file specific objections constitutes a waiver of any further right of appeal. Thomas

v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health & Human Servs., 932 F.2d

505 (6th Cir. 1991). Filing objections that raise some issues but fail to raise others

with specificity will not preserve all the objections a party might have to this

Report and Recommendation. Willis v. Sec’y of Health & Human Servs., 931 F.2d

12
  As this report only concerns the dispositive motions of Defendants City of
Detroit, Duggan, DPD, Woodward, Newton and King, this report does not address
Plaintiff’s claims against any other defendants, such as the four apparently related
defendants – Plaintiff’s wife (Ann Conway), sister-in-law (Michelle Bradford),
brother-in-law (Perry Conway) and son (Demetrius Conway) (DE 1-1 ¶¶ 49-51,
55) - or the “four unidentified officers” – presumably jail officials who allegedly
tasered and restrained Plaintiff and denied him food, water and the use of a
bathroom at the DDC (DE 1-1 ¶¶ 29-33, 53, 54 & 59).
                                          28
Case 2:16-cv-11423-LJM-APP ECF No. 12, PageID.182 Filed 01/23/17 Page 29 of 29




390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d

1370, 1273 (6th Cir. 1987). Pursuant to Local Rule 72.1(d)(2), any objections

must be served on this Magistrate Judge.

      Any objections must be labeled as “Objection No. 1,” and “Objection No.

2,” etc. Any objection must recite precisely the provision of this Report and

Recommendation to which it pertains. Not later than 14 days after service of an

objection, the opposing party may file a concise response proportionate to the

objections in length and complexity. Fed. R. Civ. P. 72(b)(2); E.D. Mich. LR

72.1(d). The response must specifically address each issue raised in the objections,

in the same order, and labeled as “Response to Objection No. 1,” “Response to

Objection No. 2,” etc. If the Court determines that any objections are without

merit, it may rule without awaiting the response.


Dated: January 23, 2017                s/Anthony P. Patti
                                       Anthony P. Patti
                                       UNITED STATES MAGISTRATE JUDGE

I hereby certify that a copy of the foregoing document was sent to parties of record
on Monday, January 23, 2017, electronically and/or by U.S. Mail.

                                       s/Michael Williams
                                       Case Manager for the
                                       Honorable Anthony P. Patti




                                           29
